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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,            Civil Action No. 3:22-cv-00178
                                                      SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


       PLAINTIFFS’ RENEWED MOTION FOR SCHEDULING CONFERENCE

       Plaintiffs—Dr. Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven

Harris, Black Voters Matter Capacity Building Institute, and Louisiana State Conference of the

NAACP—respectfully renew their motion for a scheduling conference.

       On February 8, 2024, the Court permanently enjoined elections under S.B. 1 and H.B. 14

for violating Section 2 of the Voting Rights Act. ECF No. 233. The Court ordered that the state

shall have “a reasonable period of time” to “address the Court’s findings and implement State

House and Senate election maps that that comply with § 2 of the Voting Rights Act,” and specified

that the Court would determine the “period of time” that the State would be afforded “following

submittals by the parties.” ECF No. 233 at 91.

       Plaintiffs have filed two motions related to determining the appropriate period of time for

the state to draw new maps: a motion for special elections on the remedial state legislative maps
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in November 2024, and a motion to grant Plaintiffs’ proposed scheduling order for the remedial

phase of this case.

        Both motions emphasize that it is vital to Plaintiffs’ fundamental right to vote that this case

move forward to the remedial stage as quickly as possible. And it is still possible to set a remedial

schedule that would permit special elections in November 2024. See Exhibit A (proposed order

granting alternative remedial schedule). Plaintiffs maintain that it would be prudent for the parties

and the Court to discuss the appropriate schedule for the remedial phase of this case at the Court’s

earliest convenience.

        Contrary to Defendants’ representations, 1 this Court has jurisdiction to proceed to the

remedial phase of this case while the appeal is pending. See Fed. R. Civ. P. 62(d) (“While an appeal

is pending from an interlocutory order or final judgment that grants . . . an injunction, the [district]

court may suspend, modify, restore, or grant an injunction . . . on other terms that secure the

opposing party’s rights.”). Because the only part of this Court’s order that is arguably ripe for

appeal is its interim injunction against the enacted maps, proceeding to the remedial phase would

have no impact on the order that is the subject of the pending appeal. After a notice of appeal is



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  Defendants have argued that their notice of appeal divested the district court of jurisdiction to
consider Plaintiffs’ motion for a special election. ECF No. 244 at 4–6. Defendants have invoked
cases that stand for the unrelated principle that, once a notice of appeal is filed, the trial court no
longer has the authority to revisit the merits of its ruling or to enlarge the scope of any injunctive
relief it ordered. Id. (citing McClatchy Newspapers v. Cent. Valley Typographical Union, 686 F.2d
731, 734 (9th Cir. 1982); Zimmer v. McKeithen, 467 F.2d 1381 (5th Cir. 1972)). None of the cases
Defendants cite stand for the proposition that a district court lacks jurisdiction to engage in
remedial proceedings pursuant to its own order while an appeal from the merits order is pending.
Neither Plaintiffs’ request for special elections nor the anticipated proceedings leading to adoption
of new VRA-compliant House and Senate maps is involved in the current appeal or seeks to revisit
or enlarge the scope of this Court’s order. Consideration of those issues does nothing to disrupt or
alter the Court’s merits ruling or the order enjoining use of Louisiana’s current House and Senate
maps in any way. Plaintiffs’ request for special elections as part of the remedial phase of this
case—which has not yet begun—thus cannot and does not seek to enlarge or alter any order that
is currently on appeal.

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filed, a district court still retains jurisdiction to manage its injunctive orders and may issue further

orders to enforce the Ruling and Order’s determination that Plaintiffs are entitled to further relief.

See Alberti v. Klevenhagen, 46 F.3d 1347, 1358–59 (5th Cir. 1995); Plaquemines Par. Comm’n

Council v. United States, 416 F.2d 952, 954 (5th Cir. 1969); see also, e.g., Robinson v. Ardoin, 37

F.4th 208, 216 (5th Cir. 2022) (describing how district court proceeded to remedial phase of

preliminary injunction proceedings while appeal of its preliminary injunction was pending before

the Fifth Circuit); Farmhand, Inc. v. Anel Eng’g Indus., 693 F.2d 1140, 1145 (5th Cir. 1982) (“a

district court maintains jurisdiction as to matters not involved in the appeal”).

        If this Court were nevertheless to conclude that it lacks jurisdiction to issue any remedial

order, Plaintiffs would request that the Court provide an indicative ruling on their motion for

special elections and on further remedial relief as may be necessary pursuant to Federal Rule of

Civil Procedure 62.1. See 16A Fed. Prac. & Proc. Juris. § 3958.10 (Wright & Miller, 5th ed. 2020).

Rule 62.1 would permit this Court to issue an indicative ruling on whether special elections are

warranted and would ensure that—if this Court indicates special elections are warranted, and if the

Fifth Circuit affirms this Court’s injunction—a special election could still be held this fall. An

indicative ruling could also provide a basis for the Fifth Circuit to remand the case to this Court to

enter a remedial ruling, allowing the Fifth Circuit to consider appeals on liability and remedy

together. See Fed. R. App. P. 12.1. Accordingly, if the Court believes it presently lacks remedial

jurisdiction, Plaintiffs believe a status conference would be beneficial to allow the Court to set a

schedule for remedial proceedings leading to an indicative ruling.

        Plaintiffs respectfully request that the Court set a status conference to take place this week

or on the earliest possible date so that the parties and the Court can discuss next steps in this case.




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Date: March 5, 2024                      ‫كككك‬Respectfully submitted,

                                         /s/ Megan C. Keenan                .
Leah Aden (admitted pro hac vice)        Megan C. Keenan (admitted pro hac vice)
Stuart Naifeh (admitted pro hac vice)    Sarah Brannon (admitted pro hac vice)*
Victoria Wenger (admitted pro hac vice)  American Civil Liberties Union Foundation
NAACP Legal Defense & Educational Fund 915 15th St. NW
40 Rector Street, 5th Floor              Washington, DC 20005
New York, NY 10006                       sbrannon@aclu.org
laden@naacpldf.org                       mkeenan@aclu.org
snaifeh@naacpldf.org
vwenger@naacpldf.org                     Sophia Lin Lakin (admitted pro hac vice)
                                         Dayton Campbell-Harris (admitted pro hac vice)*
I. Sara Rohani (admitted pro hac vice)   Garrett Muscatel (admitted pro hac vice)
NAACP Legal Defense & Educational Fund American Civil Liberties Union Foundation
700 14th Street, Suite 600               125 Broad Street, 18th Floor
Washington, DC 20005                     New York, NY 10004
srohani@naacpldf.org                     slakin@aclu.org
                                         dcampbell-harris@aclu.org
John Adcock (La. Bar No. 30372)          gmuscatel@aclu.org
Adcock Law LLC
Louisiana Bar No. 30372                  T. Alora Thomas-Lundborg (admitted pro hac
3110 Canal Street                        vice)
New Orleans, LA 701119                   Daniel J. Hessel (admitted pro hac vice)
jnadcock@gmail.com                       Election Law Clinic
                                         Harvard Law School
Michael de Leeuw (admitted pro hac vice) 6 Everett Street, Ste. 4105
Amanda Giglio (admitted pro hac vice)    Cambridge, MA 02138
Robert Clark (admitted pro hac vice)     tthomaslundborg@law.harvard.edu
Cozen O’Connor                           dhessel@law.harvard.edu
3 WTC, 175 Greenwich St.,
55th Floor                               Nora Ahmed
New York, NY 10007                       NY Bar No. 5092374 (admitted pro hac vice)
MdeLeeuw@cozen.com                       Pronouns: she, her, hers
AGiglio@cozen.com                        ACLU Foundation of Louisiana
                                         1340 Poydras St, Ste. 2160
Josephine Bahn (admitted pro hac vice)   New Orleans, LA 70112
Cozen O’Connor                           Tel: (504) 522-0628
1200 19th Street NW                      nahmed@laaclu.org
Washington, D.C. 20036
JBahn@cozen.com                          Ron Wilson (La. Bar No. 13575)
                                         701 Poydras Street, Suite 4100
  *Practice is limited to federal court. New Orleans, LA 70139
                                         cabral2@aol.com

                                 Attorneys for Plaintiffs


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